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                                 UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE


 In re:                            :                                          Chapter 7
                                   :
 TVC OPUS I DRILLING PROGRAM L.P., :                                          Case No. 12-12294 (MFW)
                                   :
                                   :
             Debtor.               :
                                   :

                     TRANSFER OF CLAIM OTHER THAN FOR SECURITY

A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a).
Transferee hereby gives evidence and notice of the transfer of the claim referenced in this evidence
and notice.


Pioneer Funding Group, LLC _____________                               Warbritton, Martha L. and John D._________
Name of Transferee                                                     Name of Transferor

Name and Address where notices to transferee                           Claim Number: ___D211-353____________
should be sent:                                                        Amount of Claim: __$570,803.61__________
                                                                       Date Claim Filed: __n/a__________________

Pioneer Funding Group, LLC                                             Warbritton, Martha L. and John D.
232 W. 116th St.                                                       172 Alice Ln.
Box 1735                                                               Orinda, CA 94563-3601
New York, NY 10026

Phone: (646) 237-6969                                                  Phone: n/a


I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.


By: /s/ Adam D. Stein-Sapir____________                                    Date: _______08/14/2024______________
       Transferee/Transferee’s Agent


Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
Docusign Envelope ID: CD34333C-DFDA-4076-A3D5-96F917A0F3C4
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                                          EVIDENCE OF TRANSFER OF CLAIM

    TO:              United States Bankruptcy Court (“Court”)
                     District of Delaware
                     Attn: Court Clerk

    AND TO:          TVC Opus I Drilling Program, L.P. (Case No. 12-12294)


    Claim # D211-353


    Martha L & John D Warbritton (“Assignor”), for good and valuable consideration, the receipt and sufficiency of which are
    hereby acknowledged, does hereby unconditionally and irrevocably sell, transfer and assign unto:

    Pioneer Funding Group, LLC
    232 W. 116th St.
    P.O. Box 1735
    New York, NY 10026

    its successors, assigns or designees (“Assignee”), pursuant to the terms of an Assignment of Claim Agreement between
    Assignor and Assignee, all of Assignor’s right, title, interest, claims and causes of action in and to, or arising under or in
    connection with, Claim Number D211-353 (the “Claim”) against TVC Opus I Drilling Program, L.P. (the “Debtor”), Debtor in
    Chapter 7 proceedings in the United States Bankruptcy Court for the District of Delaware (the “Court”), Case No. 12-12294.

    The Debtor, Court, claims agent and all other interested parties are hereby directed to make all future payments and
    distributions, and to give all notices and other communications, in respect of the Claim to Assignee.

    Assignor hereby waives any objection to the transfer of the Claim to Assignee on the books and records of the Debtor and
    the Court, and hereby waives to the fullest extent permitted by law any notice or right to a hearing as may be imposed by
    Rule 3001 of the Federal Rules of Bankruptcy Procedure, the Bankruptcy Code, applicable local bankruptcy rules or
    applicable law. Assignor acknowledges and understands, and hereby stipulates, that an order of the Court may be entered
    without further notice to Assignor transferring to Assignee the foregoing Claim and recognizing the Assignee as the sole
    owner and holder of the Claim.

    IN WITNESS WHEREOF, this Evidence of Transfer of Claim is executed on: 8/14/2024



            MARTHA L & JOHN D WARBRITTON                                       PIONEER FUNDING GROUP, LLC


            _____________________________________                              ___________________________________
            (Signature)                                                        (Signature)

                             John Warbritton
            ______________________________________                             _Adam D. Stein-Sapir__________________
            (Print Name)                                                       (Print Name)


            _____________________________________                              _Managing Member____________________
            (Title)                                                            (Title)
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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In Re:                                        )       Chapter: 7
                                              )
TVC Opus I Drilling Program, LP
                                              )
                                              )
        Debtor(s)                             )       Case No: 12-12294




   ORDER GRANTING APPLICATION FOR PAYMENT OF UNCLAIMED FUNDS

         On                           , an application was filed for the Claimant(s),

 Pioneer Funding Group, LLC

 for payment of unclaimed funds deposited with the court, pursuant to 11 U.S.C. § 347(a). The

 application and supporting documentation establish that the Claimant(s) is/are entitled to the

 unclaimed funds; accordingly, it is hereby

    ORDERED that, pursuant to 28 U.S.C. § 2042, the sum of $ 14,555.91                     held in

 unclaimed funds be made payable to
 Pioneer Funding Group, LLC

 and be disbursed to the payee at the following address:
 232 West 116th Street
 Box 1735
 New York, NY 10026


 The Clerk will disburse these funds not earlier than 14 days after entry of this order.
